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                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF PUERTO RICO
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 In re:                                                         PROMESA
                                                                Title III
 THE FINANCIAL OVERSIGHT AND
 MANAGEMENT BOARD FOR PUERTO RICO,

         as representative of                                                 No. 17 BK 3283-LTS

 THE COMMONWEALTH OF PUERTO RICO,                                             (Jointly Administered)
 et al.,

                            Debtors. 1
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                       ORDER RELOCATING THE APRIL 25, 2018 OMNIBUS HEARING

               The Court has received and reviewed the Informative Motion of the Financial
 Oversight and Management Board Regarding April 25, 2018 9:30 A.M. (AST) Omnibus Hearing
 (Docket Entry No. 2883). In interest of reducing the cost and time associated with counsel
 traveling to Puerto Rico and in light of the limited number of matters scheduled for the April 25,
 2018 Omnibus Hearing (the “April Omnibus Hearing”), the Court has decided to conduct the
 April Omnibus Hearing in New York.
                The April Omnibus Hearing will be conducted in Courtroom 17C 2 of the United
 States District Court for the Southern District of New York, Daniel Patrick Moynihan
 Courthouse, 500 Pearl Street, New York, NY 10007 and by video teleconference in a Courtroom
 to be determined at the United States District Court for the District of Puerto Rico, 150 Carlos
 Chardón Street, Federal Building, San Juan, Puerto Rico 00918-1767. The hearing will be
 conducted on April 25, 2018 from 9:30 a.m. to 12:00 p.m., resume if necessary from 2:00 p.m. to


 1
        The Debtors in these Title III Cases, along with each Debtor’s respective Title III case
 number and the last four (4) digits of each Debtor’s federal tax identification number, as
 applicable, are the (i) Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3283-LTS)
 (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation
 (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID:
 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No.
 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement
 System of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No.
 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric
 Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of
 Federal Tax ID: 3747). (Title III case numbers are listed as Bankruptcy Case numbers due to
 software limitations).
 2
       Attendees should check the notice board in the lobby of the New York courthouse on the
 morning of the hearing to confirm the courtroom location.


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 5:00 p.m. that afternoon, and continue if necessary on April 26, 2018, from 9:30 a.m. to 12:00
 p.m. and from 1:00 p.m. to 5:00 p.m. An agenda outlining the matters to be addressed and the
 projected timetable will be filed by Debtors’ counsel by April 23, 2018 in accordance with the
 Fourth Amended Case Management Procedures.
                Judge Swain will be present in the New York courtroom and video-
 teleconferencing facilities will be available in the San Juan courtroom. Counsel who intend to
 speak at the Hearing may attend the proceedings in the New York courtroom or the San Juan
 courtroom if they wish. Counsel who intend to speak at the Hearing must file an
 Informative Motion stating the names of all attending counsel and identifying the party for
 which they intend to appear, the agenda items in connection with which they intend to speak, and
 the location (New York or San Juan) at which they intend to appear, no later than April 20,
 2018, at 5:00 p.m. (Atlantic Standard Time).

                  Other attorneys, members of the press and the general public may attend and
 observe the Hearing in either of the courtrooms. There will also be a live feed of the proceedings
 for members of the press available in the press room in the New York courthouse and in a
 designated space in the Puerto Rico courthouse. Attorneys who have entered an appearance in
 the Title III proceedings may register to listen-in on the proceedings by telephone. Such
 attorneys must register with CourtSolutions at www.court-solutions.com no later than April 20,
 2018 at 5:00 p.m. and pay the fee established by CourtSolutions. No recording or
 retransmission of the Hearing is permitted by any person, including, but not limited to, the
 parties or the press. Failure to comply may result in sanctions, including suspension of press
 privileges for members of the press in either court.

                 Counsel seeking to bring electronic devices into the courtroom for the Hearing
 must submit such request by e-mail to the following address:
 swaindprcorresp@nysd.uscourts.gov by 5:00 p.m. (Atlantic Standard Time) on April 20,
 2018. Such requests must be compliant with, and made in the format required by, S.D.N.Y.
 Standing Order M10-468, which is published on the S.D.N.Y. website (nysd.uscourts.gov
 (“Application to Bring an Electronic Device into the Courthouse”)). Counsel’s attention is
 directed to the technical and device usage restrictions detailed in the Standing Order, and counsel
 are reminded that devices may not be used for communications purposes in the courtroom.


        Counsel are reminded that a separate request is required for each S.D.N.Y. court
 appearance date.

        SO ORDERED.

 Dated: April 11, 2018
                                                               /s/ Laura Taylor Swain
                                                              LAURA TAYLOR SWAIN
                                                              United States District Judge



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